Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 1 of 13 Page ID #:42




                                                                          Exhibit 2
                                                                              -41-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 2 of 13 Page ID #:43




                                                                          Exhibit 2
                                                                              -42-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 3 of 13 Page ID #:44




                                                                          Exhibit 2
                                                                              -43-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 4 of 13 Page ID #:45




                                                                          Exhibit 2
                                                                              -44-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 5 of 13 Page ID #:46




                                                                          Exhibit 2
                                                                              -45-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 6 of 13 Page ID #:47




                                                                          Exhibit 2
                                                                              -46-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 7 of 13 Page ID #:48




                                                                          Exhibit 2
                                                                              -47-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 8 of 13 Page ID #:49




                                                                          Exhibit 2
                                                                              -48-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 9 of 13 Page ID #:50




                                                                          Exhibit 2
                                                                              -49-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 10 of 13 Page ID #:51




                                                                           Exhibit 2
                                                                               -50-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 11 of 13 Page ID #:52




                                                                           Exhibit 2
                                                                               -51-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 12 of 13 Page ID #:53




                                                                           Exhibit 2
                                                                               -52-
Case 2:19-cv-10202-DDP-E Document 1-2 Filed 12/02/19 Page 13 of 13 Page ID #:54




                                                                           Exhibit 2
                                                                               -53-
